           Case 4:17-cr-00059-BMM Document 74 Filed 10/16/20 Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                  CR 17-59-GF-BMM-JTJ

                      Plaintiff,                     ORDER

       vs.

 EDWARD DEAN CASSIDY,

                      Defendant.



      The United States Probation Office filed a Petition on October 8, 2020,

requesting that the Court revoke Defendant Edward Dean Cassidy’s supervised

release. Cassidy appeared before the Court for an initial appearance on

October 15, 2020. The Court determined that Cassidy may be suffering from a

mental disease or defect that should be evaluated before he participates in the

revocation hearing. 18 U.S.C. § 4244(a). It is unclear whether Cassidy

understands the terms and conditions of his supervised release, whether Cassidy

understands the consequences ofthe alleged supervised release violations, and

whether Cassidy can assist counsel in his defense.

      Accordingly,IT IS ORDERED:

      1.      Cassidy shall undergo a mental health evaluation pursuant to

18 U.S.C. § 4244(b)to assist the Court in determining whether Cassidy suffers
           Case 4:17-cr-00059-BMM Document 74 Filed 10/16/20 Page 2 of 3



from a mental disease or defect that the Court should consider when it conducts

the revocation hearing and determines an appropriate sentence, if necessary. The

evaluation shall be completed within 30 days unless extended for good cause.

18U.S.C. § 4247(b).

      2.       The examiner shall submit a report to the Court consistent with

18 U.S.C. § 4244(b) and 18 U.S.C. § 4247(c). The report should include any

recommendation the examiner may have as to how Cassidy’s mental condition

should affect any sentence imposed by the Court. 18 U.S.C. § 4247(c)(4)(E). The

examiner’s report shall be filed under seal. The Clerk of Court shall provide a

copy of the report to Cassidy and the United States.

      3.      The United States Marshals Service is directed to request that the

Bureau of Prisons designate the federal facility where Cassidy will be evaluated.

      4.      The United States Marshals Service shall notify the Court when it

receives notice of the facility that has been designated.

      5.      The United States Marshals Service shall transfer Cassidy

to the designated facility, and shall transfer Cassidy back to the District of

Montana upon completion of the evaluation.

      6.      The Clerk is directed to notify the parties and the United States




                                          2
        Case 4:17-cr-00059-BMM Document 74 Filed 10/16/20 Page 3 of 3



Marshals Service of the entry of this Order.

      DATED this 16th day of October, 2020.




                                            \,           i
                                                 JotUiTohnston
                                                 United States Magistrate Judge




                                        3
